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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
Joey James Levy                                                CASE NUMBER:

                                                                                     5:20-CV-02097-VBF(SP)
                                          PLAINTIFF(S),
                         v.
California Department of Corrections and                                                  JUDGMENT
Rehabilitations, et al.,                                                          (Failure to Pay Full Filing Fee)
                                        DEFENDANT(S).



         On            December 28, 2020               , plaintiff was permitted, pursuant to 28 U.S.C. § 1915, to
file the above-referenced action without prepayment of the full filing fee of $350.00, but plaintiff was ordered
to pay to the Clerk of Court the     full filing fee ✔ initial partial filing fee.

        By Order to Show Cause dated                        August 26, 2021                   , plaintiff was ordered to
show cause why this action should not be dismissed without prejudice for plaintiff’s failure to timely pay the
   full filing fee ✔ initial partial filing fee. Plaintiff has failed to file a sufficient response to the Order to Show
Cause or pay the full filing fee ✔ initial partial filing fee within the time allowed.

      THEREFORE, IT IS ADJUDGED that this action is dismissed without prejudice for plaintiff’s failure to
comply with 28 U.S.C. § 1915.


    October 27, 2021
Date                                                                  United States District Judge




Presented by:




United States Magistrate Judge




IFP-2 (02/18)                         JUDGMENT (Failure to Pay Full Filing Fee)
